
200 S.W.3d 606 (2006)
In the INTEREST of D.H.
Juvenile Officer, Respondent,
v.
S.H. (Father), Appellant,
T.E. (Mother), Defendant.
No. WD 66531.
Missouri Court of Appeals, Western District.
September 12, 2006.
Paul M. Tancredi, Kansas City, MO, for appellant S.H.
William R. Jackson, III, Kansas City, MO, for respondent Juvenile Officer.
Michelle R. Meier, Kansas City, MO, Co-Counsel for respondent.
William C. Pevestroff, Jr., Independence, MO, for defendant T.E.
Katherine J. Rodgers, Kansas City, MO, Attorney and Guardian for D.H.
Before ULRICH, P.J., SMITH and HARDWICK, JJ.


*607 ORDER

PER CURIAM.
S.H. (Father) appeals from the judgment terminating parental rights to his son, D.H. Father contends the evidence was insufficient to support the termination of his parental rights on grounds of abandonment, abuse and neglect, and the failure to rectify conditions of a potentially harmful nature. Upon review of the briefs and the record, we affirm the judgment, finding clear, cogent, and convincing evidence to support the termination on grounds of abandonment.
We have provided the parties with a Memorandum explaining the reasons for our decision because a published opinion would have no precedential value.
AFFIRMED. Rule 84.16(b).
